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Attorneys for Plaintiff JANET HEATHMAN

UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF CALIFORNIA

JANET HEATHMAN, CASE NO. 12-cv-00515 IEG (RBB)
Plaintiff, DECLARATION OF JANET
HEATHMAN IN SUPPORT OF
vs. PLAINTIFF’S MOTION FOR

SUMMARY JUDGMENT

PORTFOLIO RECOVERY,
ASSOCIATES, LLC,

Defendant.

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Dec of Janet Hleathman in Support of Plaintiff's MSJ 12-ev-00515 IEG (RBB)

 
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1. I, Janet Heathman, hereby declare under penalty of perjury, and
pursuant to the laws of the State of California and the United States, that the
foregoing is true and correct.

2. If called as a witness, I would competently testify to the matters herein
from my own personal knowledge.

3. I am a plaintiff in this matter.

4. On April 11, 2011, Portfolio Recovery Associates, LLC (“PRA”) filed
a state court collection lawsuit against me, state case #37-2011-00089382-
CL-CL-CTL (“April 11, 2011 State Court Action”) and later served me with
the summons and complaint (“April 11, 2011 State Court Complaint”).

5. A true and correct copy of the above April 11, 2011 State Court
Complaint is attached hereto as Exhibit A.

6. In the April 11, 2011 State Court Complaint, PRA alleged that I entered
a “written credit card and/or loan agreement” between myself and PRA.

R This claim was false, as | have never entered any written contract with
PRA.

8. In the April 11, 2011 State Court Complaint, PRA alleged that I
promised PRA that I would pay them money.

9. This claim was false as | never promised PRA that I would pay them
money.

10. Inthe April 11, 2011 State Court Complaint, PRA alleged that PRA
provided me with a “credit instrument and monies.”

11. This claim was false as PRA never provided me with any “credit
instrument” or any “monies.”

12. Inthe April 11, 2011 State Court Complaint, PRA alleged that PRA
issued a “credit account” to me, and that I made credit card purchases on this

account.

Dec of Janet Heathman in Support of Plamntff's MS] 12-cv-00515 IEG (RBB)

 
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13. This claim was false as PRA never issued any “credit account” to me,
much less one on which | could make credit card purchases.

14. In the April 11, 2011 State Court Complaint, PRA alleged that PRA
was the original creditor, and did not identify any other party as a creditor.
15. 1 was confused by the April 11, 2011 State Court Complaint, because I
did not understand why PRA would claim to have issued credit to me, and
have a contract with me, when I had no prior relationship with them at all, and
never received anything from them.

16. I did not have the information I needed to access whether I should try
to settle PRA’s claims, or fight them, because I did not know what PRA was
talking about.

17. I was forced to file an answer to the April 11, 2011 State Court
Complaint, because I did not know what else to do, and did not want to lose
by default when | did not even know what basis there was, if any, for PRA’s
accusations.

18. I hired Stephen G. Recordon and Clinton Rooney as counsel in the
April 11, 2011 State Court Action.

19. My counsel sent our requests for evidence, and PRA then changed its
stance, now claiming that | owed money to PRA based on a credit card with
Chase Manhattan Bank (USA) NA.

20. Any credit card account or accounts that I had with Chase Bank were
for personal, family or household use, and I have never engaged in any
commercial transaction with Chase Bank.

21. Any and all of credit transactions between Chase Bank and myself were
consumer transactions.

22. OnJuly 21, 2011, Portfolio Recovery Associates, LLC (“PRA”) filed a

second state court collection lawsuit against me, state case #37-2011-

Dec of Janet Heathman in Support of Plaintiff's MSJ 12-cv-00515 IEG (RBB)

 
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00094796-CL-CL-CTL and served me with the summons and complaint
(“July 21, 2011 State Court Complaint”).

23. This second July 21, 2011State Court Complaint was facially identical
to the earlier April 11, 2011 State Court Complaint, except for the date and
the balance claimed due.

24. Again, in the July 21, 2011State Court Complaint, PRA claimed the
existence of a written contract between PRA and myself, and that PRA issued
a “credit account” to me.

25. This caused me great confusion, as | was not sure how or why PRA
chose to sue me twice, without ever identifying any creditor other than PRA.
26. I did not know if PRA was suing me twice on the same Chase account,
if PRA was now claiming to be the original creditor on a second account, or if
PRA was simply making up a debt out of thin air.

27. Inearly 2013, PRA finally informed my counsel that I never owed any
amount to PRA on the account alleged in the July 21, 2011 State Court
Complaint.

28. In federal case number |2-cv-00201 IEG (RBB), on February 27, 2013
this Court found that the claims made in the July 21, 2013 State Court
Complaint violated the Fair Debt Collection Practices Act.

29. 1 found both State Court Complaints to be equally confusing, as they
both lacked any information on why I would owe any amount to PRA, and
neither one identified any original creditor, instead only identifying PRA.

30. Ido not, and have never, owed any amount to PRA based on the
account alleged in the July 11, 2011 State Court Complaint.

31. Asaresult of PRA’s false, deceptive, and misleading behavior, my
counsel were forced to incur necessary and reasonable attorney time and costs
to defend the collection case in state court that they would otherwise not have

incurred.

Dec of Janet Heathman in Support of Plaintif?'s MSJ 12-cv-00515 IEG (RBB)

 
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" 32. I declare nothing further.

3 I declare under penalty of perjury under the laws of the United States that the

4 || foregoing is true and correct.

6 Dated this 2" day of March, 2013, in San Diego, California.

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Dec of Janet Heathman in Support of Plaintif’s MSJ 12-cv-00515 IEG (RBB)

 

 

 
